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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

LEILANI JASINSKI DEMINT, et al.,
Case Nos. 8: 94-995 CIV-T-23E

Plaintiffs, 8: 94-2094 CIV-T 23B
VS. (Judge Merryday)

NATIONSBANK CORPORATION, et Consolidated
al.

Defendants.

 

 

 

UNOPPOSED MOTION AND MEMORANDUM OF LEGAL
AUTHORITY IN SUPPORT OF UNOPPOSED MOTION BY
PLAINTIFFS AND THE CLASS 'TO REOPEN CASE AND FOR FINAL
DISTRIBUTION OF THE NET SETTLEMENT FUND, PAYMENT OF
UNREIMBURSED FEES AND EXPENSES OF THE CLAIMS
ADMINISTRATOR, APPLICATION FOR AWARD OF ATTORNEYS’
FEES AND EXPENSES, CY PRES DISTRIBUTION OF RESIDUAL
SETTLEMENT FUNDS AND TERMINATION OF THE ACTION

Abbey Spanier, LLP (“Abbey Spanier”), as lead counsel for the Class, upon the prior
record herein, its memorandum in support of this motion, the Affidavit of Arthur N. Abbey dated
March 24, 2014, and the Declaration of Stephen J. Cirami dated March a1, 2014, filed herewith,
and undersigned counsel hereby certifying that they have conferred with counsel for Defendants
who has confirmed that Defendants do not oppose the motion, hereby moves on behalf of
Plaintiffs and the Class for an Order:

(1) Reopening this action for, subject to the Court’s approval and direction, the

purposes described herein below;

 

 
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(2) Providing for final distribution of the remaining Settlement Fund and terminating
the action;
(3) Awarding attorneys’ fees to Abbey Spanier from the remaining Settlement Fund
in the amount of $35,000 for unpaid legal services and related expenses performed for the
benefit of the class members in the period following the approval of the Settlement;
(4) Approving payment to the claims administrator, Garden City Group, in the
amount of $9,028.30, for its fees and expenses for work to be done in completing the
final distributions from the Settlement Fund requested herein and in winding down the
Settlement Fund;
(5) Approving a final distribution of the remaining balance of the Settlement Fund,
after any provisions for the payments requested in (1) and (2) above, to eligible
BankAmerica class claimants who (a) received and cashed their settlement checks in the
second distribution in September 2011 and (b) would receive $3.00 or more in this final
distribution; and
(6) Approving a cy pres distribution of any residual funds remaining after the final
distribution to the Authorized Claimants and payment of all fees and expenses approved
by the Court to the following non-profit legal services organizations in equal amounts:

(a) Bay Area Legal Services, Inc., Tampa, Florida

(b) Legal Services of Southern Piedmont, Charlotte, North Carolina

(c) MFY Legal Services, Inc., New York, New York.

Memorandum of Legal Authority in Support of the Motion

 

 
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The purpose of this unopposed motion is to provide for final steps in the distribution of
$186,872 in residual funds remaining from the original $26,335,350 million Settlement Fund
distributed to Class Members to date in this consolidated class action (“the Action”) and to
provide for final termination of the Action and closing of the file. Pursuant to the order
approving the Settlement this Court retained jurisdiction over matters arising from the execution
of the Settlement Agreement and administration of the Settlement Fund. The background of the
Action and the administration of the Settlement Fund that is the subject of this motion is set forth
in the Affidavit of Arthur N. Abbey in Support of Motion to Reopen Case, etc. (“Abbey
Affidavit”) submitted herewith.

1. Final Distribution to the Class and Cy Pres Distributions

Lead Counsel for the Class submits that a final distribution to the Class and cy pres
distribution of any residual funds that remain unclaimed after initial distributions to Class
Members is appropriate at this time and is within the equitable powers of the court. Jn re
Checking Account Overdraft Litig., 830 F.Supp.1330, 1354 (S.D. Fla. 2011); In re Motorsports
Merchandise Antitrust Litig., 160 F. Supp.2d 1392,1393 (N.D. Ga. 2001). Although the amount
remaining in the Settlement Fund after two prior distributions represents less than one percent of
the initial Fund, evolving law with respect to residual funds favors distribution to class members
prior to any cy pres distribution, so long as class members have not received “full”
compensation, are reasonably identifiable and the cost of distribution is not so great as to make
such distribution impractical. See, e.g. Nelson vy Mead Johnson & Johnson Co., 484 F. App’x
429, 435 (11" Cir. 2012); In this case, the Settlement, although substantial, was not so great as
to permit full compensation to Class Members for their losses resulting from the alleged

misconduct. The proposed distribution of the remaining Settlement Fund, less any attorneys’ fees

 

 
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and claims administrator’s fees and expenses approved by the Court, will be made to those Class
Members who would receive a pro rata amount of $3 or more and who cashed distribution
checks in the second distribution in 2009. As such, the proposed final distribution to such Class
Members is feasible and practical.

The proposed cy pres distribution to three legal services organizations of any remaining
settlement funds is also appropriate and does not raise any of the issues that have attracted
adverse comment concerning cy pres awards in some cases, The amount of any cy pres
distribution here will be a very small part-- much less than one percent-- of the total Settlement
Fund; all reasonable effort to distribute funds to Class members who suffered direct injury due to
the alleged misconduct have been or will have been made; and the proposed cy pres recipients
are engaged at least in providing in significant part legal services that that are reasonably related
to the fraud and deception upon individual consumers (in this case, bank customers) alleged in
this Action. In re Checking Account Overdraft Litig. at 1354, (“The cy pres doctrine permits
courts to distribute unclaimed settlement amounts to worthy charities, especially to charities
whose purposes harmonize with the underlying lawsuit.”).

Bay Area Legal Services, Inc. of Tampa, Florida provides a wide variety of civil free
legal services, including consumer and foreclosure legal services, to eligible clients with limited
income and assets residing in Hillsborough, Manatee, Pasco, Pinellas and Sarasota Counties,
Legal Services of Southern Piedmont, in Charlotte, North Carolina, provides a wide range of
civil legal assistance, including services related to consumer protection, to eligible low-income
persons in the Charlotte metropolitan area and western North Carolina, using legal advocacy
strategies including, infer alia, advice and representation, collaboration with other agencies and

legislative and administrative advocacy. MFY Legal Services of New York, New York, likewise

 

 
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provides legal services on a non-profit basis to individuals residing in New York City who
otherwise cannot afford an attorney, including impact litigation, law reform and policy advocacy.
These areas of service include, among many others, consumer protection and bank foreclosure
representation and advocacy. Each of these organizations is a secular, non-profit entity. A cy
pres distribution of any residual Settlement amount remaining after other final distributions
ordered by the Court should be and may appropriately be made in equal parts to these legal
services organizations.

2. Payments to the Claims Administrator and Lead Counsel

This motion additionally request that the Court approve payment to the Claims
Administrator, Garden City Group, in the amount of $9,028.30, representing the fees and
expenses in connection with the final distribution and winding down of the Settlement Fund.
This amount would be paid from the Settlement Fund prior to the final distribution to Class
Members, Lead Counsel submit that this payment is reasonable, for the reasons set forth in the
Affidavit of Stephen J. Cirami Concerning Remaining Balance of Settlement Fund (“Cirami
Affidavit”), at 7, and the Abbey Affidavit at 78. Finally, Lead Counsel requests approval of fees
and expenses in the amount of $35,000, also to be paid from the Settlement Fund, for post-
settlement services provided to the Class by Abbey Spanier over the period since the approval of
the Settlement, See the Abbey Affidavit, (7. Where counsel for the class has assisted in the
administration, monitoring and multiple distributions of a very substantial settlement fund to a
large body of individual claimants, and protected the rights of Class Members, we respectfully
submit that the Court may approve the award of the requested amount in addition to the fees and
reimbursement of expenses initially awarded. See, Powell vy. Georgia Pacific Corp., 119 F. 3d

703,707 (8" Cir. 1997) (equitable title to reasonable fees for time spent by attorneys carrying out

 

 
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the terms and intent of a consent decree in a class action notwithstanding consent decree limited
fees to a period no longer than 90 days after an initial distribution of funds); Goodman v.
Heublein, Inc., 682 F.2d 44, 48 (2d Cir.1982) (district judge may award supplemental fees to
compensate counsel fully for time expended in a case after the date covered by a prior fee
application and award, for matters arising after the settlement of claims but not included in the
ptior fee award); In re Nortel Networks Corp. Securities Litig., No. 01 Civ.1855(RMB), 2010
WL 3431152 (S.D.N.Y. Aug. 20, 2010) (supplemental fee and expense request granted in part
for unanticipated post-settlement work including additional rounds of distributions to class
members.)

3, Conclusion

For the reasons set forth herein and in the Abbey and Cirami Affidavits submitted
herewith, plaintiffs respectfully request that the Court grant the motion and approve (a) the
payment from the residual Settlement Fund of $35,000 for attorneys’ fees and expenses
requested, (b) the payment of $9,028.30 to Garden City Group for its fees and expenses in
executing a final distribution and winding down of the Settlement Fund, (c) a third and final
distribution of the net residual Settlement Fund to Class Members as requested, (d) the cy pres
distribution of any funds remaining in the Settlement Fund after completion of final distribution
to Class Members to the three designated legal services organizations and (e) termination of the
Action upon completion of the final distributions.

Pursuant to Local Rule 3.01(g), the undersigned certify that counsel for the Defendants

has been consulted and that Defendants do not oppose any of the relief requested herein.

 

 
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May $6, 2014

Respectfully submitted,

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